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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

JEFFREY GIANCASPRO,

              Plaintiff,

v.                                                         Case No.: 3:20-cv-346-J-39MCR

NOVARTIS PHARMACEUTICALS
CORPORATION,

              Defendant.
                                            /

                   CASE MANAGEMENT AND SCHEDULING ORDER
                         AND REFERRAL TO MEDIATION

       Having considered the case management report prepared by the parties, the Court

enters this case management and scheduling order:1, 2

 Mandatory Initial Disclosures (pursuant to                                     July 10, 2020
 Fed.R.Civ.P.26(a)(1))
 Certificate of Interested Persons and Corporate Disclosure                     July 10, 2020
 Statement
 Motions to Add Parties or to Amend Pleadings                                 June 1, 2021
 Disclosure of Expert Reports                       Plaintiff:            November 3, 2021
                                                 Defendant:              December 15, 2021
 Discovery Deadline                                                          April 15, 2022
 Mediation                                         Deadline:                  May 21, 2021
                                                   Mediator:                          TBD3
                                                   Address:
                                                 Telephone:

       1  The confidentiality agreement (Doc. 13-1) and the proposed order (Doc. 13-2) are due
to be stricken, as being inconsistent with the Court’s Administrative Procedures for Electronic
Filing, IV.A.4: “[n]o proposed order or judgment may be submitted unless authorized by the
assigned judge.” See also M.D. Fla. R. 1.01(a).
       2 Although the parties requested a preliminary pretrial conference, the Court does
not find that one is necessary at this time. Therefore, the parties shall be governed by
the schedule as set herein, but are welcome to renew their request for a conference
should the need to do so arise by filing the proper motion.
       3As ordered herein, the parties must select a court-approved mediator, who is
acceptable to both parties and inform the Court of the Mediator’s name, address and
telephone number no later than August 4, 2020.
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 Dispositive and Daubert Motions (Responses due 21 days                     April 15, 2022
 after service)
 Motions In Limine                                                     September 7, 2022

 Responses to Motions In Limine                                       September 14, 2022

 All Other Motions                                                    September 14, 2022
 Joint Final Pretrial Statement                                       September 14, 2022
 Final Pretrial Conference                            Date:           September 21, 2022
                                                      Time:                     10:00 AM
                                                     Judge:                 Brian J. Davis
 Trial Term Begins                                                       October 3, 2022
     [Trials Before Magistrate Judges Begin on Date Certain]                     9:00 AM
 Estimated Length of Trial                                                        14 days
 Jury/Non Jury                                                                        Jury

       1.     With respect to discovery matters, the date set forth above is the final date

discovery shall be completed. All requests and motions pertaining to discovery shall be

filed promptly so that the discovery desired will be due prior to the completion date.

Specifically, motions to compel brought pursuant to Rule 37 must be filed no later than

the close of discovery. The parties should be aware that a stipulation to the continuance

of discovery anticipates no discovery disputes.        Therefore, this Court will not hear

discovery disputes arising during the stipulated continuance. The parties are further

advised that any extension of discovery will not result in an extension of the dispositive

motion filing deadline or other pretrial or trial dates except upon order of the Court. If

promptly raised, the deadline for amending pleadings is subject to extension based on

new discovery or other good cause.

       2.     The parties are reminded of their obligation to comply with the redaction

requirements set forth in Fed.R.Civ.P. 5.2.

       3.     Pursuant to Local Rule 3.01(a), any motion and memorandum in support

must be in a single document not to exceed 25 pages absent leave of Court. Responses

to motions may not exceed 20 pages absent leave of Court. In summary judgment

practice, the combined motion and memorandum (including any "Statement of

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Undisputed Facts") must be filed as one document and may not exceed 25 pages without

permission of the Court.    Please deliver a courtesy copy of all dispositive and Daubert

motions and responses, including copies of all relevant exhibits and depositions, to the

chambers of the undersigned.

       4.     Except as otherwise ordered, the parties are directed to meet the pretrial

disclosure requirements in Fed.R.Civ.P. 26(a)(3) and to timely adhere to all requirements

in Local Rule 3.06 concerning Final Pretrial Procedures. While counsel for the Plaintiff

shall be responsible for initiating the pretrial compliance process, all parties are

responsible for assuring its timely completion.

       5.     A pretrial statement in compliance with Local Rule 3.06 shall be filed with

the Clerk on or before the date noted in this Order with two courtesy copies to be provided

to the Court. The parties are required to identify the depositions to be read at trial in the

pretrial statement but are not required to designate the pages of depositions to be read

at trial until a date to be established by the Court at the final pretrial conference.

       6.     The final pretrial conference and trial will be held in Courtroom 12C, 12th

Floor, United States Courthouse, 300 North Hogan Street, Jacksonville, Florida. The

pretrial conference shall be attended by counsel who will act as lead counsel and who

are vested with full authority to make and solicit disclosures and agreements touching on

all matters pertaining to the trial. Arguments on Motions In Limine, if allowed, will be

heard at the Final Pretrial Conference.

       7.     Unless otherwise ordered by the Court, no later than five days before the

trial term set forth above, the parties shall file with the Clerk of Court the following (and,

as to each of the following, provide directly to Chambers, Suite 11-400, by mail or hand

delivery two (2) copies marked “Judge’s Chambers Copy”):




                                             -3-
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       (a)      Each side shall file a Trial Brief, with citations of authorities and arguments
                specifically addressing all significant disputed issues of law likely to arise at
                trial: and either (b) or (c) below, as appropriate.

       (b)      If case is a jury trial, the following

                (1)    A concise (one paragraph preferably) joint or stipulated statement
                       of the nature of the action to be used solely for purpose of providing
                       a basic explanation of the case to the jury venire at the
                       commencement of jury selection process:

                (2)    Proposed Voir Dire (the Court will conduct the jury voir dire and, in
                       addition to the usual more general questions, will, without initiation
                       by counsel, ask more particular questions suggested by the nature
                       of the case; counsel should, therefore, be selective in the jury
                       questions submitted to the Court for consideration); and

                (3)    A Proposed Verdict Form and complete set of all written Proposed
                       Jury Instructions. (The Court will expect counsel to give their best
                       efforts, cooperatively, in the production of a joint set of instructions
                       and verdict form, the format of which the Court will discuss at the
                       pretrial conference.)

       (c)      If case is a non-jury trial, Proposed Findings of Fact and Conclusions
                of Law (each shall be separately stated in numbered paragraphs; Findings
                of Fact shall contain a detailed listing of the relevant material facts the party
                intends to prove, in a simple, narrative form; Conclusions of Law shall
                contain a full exposition of the legal theories relied upon by counsel).

       8.       The parties are advised (and should advise their witnesses) that photo

identification is required to enter the United States Courthouse. Although cell phones,

laptop computers, and similar electronic devices generally are not permitted in the

building, attorneys may bring those items with them upon presentation to Court Security

Officers of proof of membership in The Florida Bar or an Order of special admission pro

hac vice.4

       9.       In the event that the dates set herein for final pretrial conference and/or trial

are continued or otherwise modified, the remaining provisions of this Order shall remain

in full force and effect.




       4   Cell phones must be turned off while in the courtroom.
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       10.    THE    COURT      HAS    DONE      EVERYTHING        POSSIBLE      TO    SET

APPROPRIATE DEADLINES FOR THIS CASE. THE PARTIES SHOULD PROCEED

ACCORDINGLY.        DO NOT ASSUME THAT THE COURT WILL EXTEND THESE

DEADLINES.

                                  MEDIATION ORDER

       This case is referred to the mediator listed above pursuant to Chapter Nine of the

Local Rules. Counsel for Plaintiff is designated as lead counsel to be responsible for

coordinating a mutually agreeable mediation date and for filing a notice advising the Court

of the date selected for mediation. If Plaintiff is proceeding pro se, counsel for Defendant

shall undertake the responsibility for coordinating a mutually agreeable mediation date

and for filing the notice. The mediation conference shall be completed by the date set

forth above. Absent agreement otherwise by the parties or order of the Court, the cost of

the mediator’s services shall be borne equally by the parties.

       DONE and ORDERED in Jacksonville, Florida this 16th day of June, 2020.




Copies to:

Counsel of Record
Pro Se Parties
Mediator with attachments: mediation report form, docket sheet


ap




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